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SOUTHERN DISTRICT OF NEW YORK

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| ~ RAYVON RUTHERFORD, AND: REGINALD GALLMAN,
Plaintiffs,

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Application for the

Court to Request
Counsel —
CITY OF MT. ‘VERNON, SERGEANT FEGAN, 18+cv-10706 (LMS)

POLICE OFFICER ANTONINI, #111, AND

POLICE OFFICER PUFF, #110
Defendants.

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1. Plaintiffs Rutherford and Gallman respectfully submit this
application to request the appointment of counsel.

“22.- Both plaintiffs feel that the assistance of an attorney
would be in thier best intreast do to the fact that, though they
surface knowledge of these proceedings they are laymen when it |
comes to proper litigation, and rules of the court. Also the |
complexity of the ‘facts and legal issues being raised~ would be
better handeled by professional with knowledge of law. Plaintiffs
are not -able to investigate crucial facts to the case, and
defendants plead conflicting testimony about relevent evidence to
this case. Lastly the facual issues are complicated in such away
that trained attorneys “would be more Likely to uncover the truth.

3. Both plaintiffs have written several attorney to request
representation to no avail.

-4. Both Plaintiffs understand that if a lawyer volunteers to
represent them and their lawyer learns that they can afford to pay

for a lawyer, the lawyer may give this information to-the court.

5. Plaintiffs understand that if their answers on the applic-
 

ation for the Court to Request Counsel are false, the case may be

dismissed.

I declare under penalty of perjury that the foregoing is true

and correct.
Dated: Yt

RESPECTFULLY SUBMITTED -
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